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                              ATTACHMENT A


                     Last Name              First Name

                     AKINADE                TAYE
                     ALT                    MICHELLE
                     BOASIAKO               STELLA
                     BOURDIER               MODESTA
                     COSTA                  ISABEL
                     DADA                   SAFURAT
                     FREEMAN                ANA
                     GORDON                 ROSE
                     HENRY                  CAITLIN
                     HILL                   DOUGLAAS
                     IDOWU                  KEHINDE
                     KELLER                 CHRISTIANA
                     KENNEDY                JEAN
                     KOIMENE                ROBERTHA
                     LUCIANO                ELUPINA
                     MAKANJUOLA             MOBOLAJI
                     MAZARIEGOS             ARIANA
                     MENDES                 SUZETE
                     MONTEIRO               PALMIRA
                     ODULOA                 ABOSEDE
                     OKE                    CHRISTIANAH
                     OLIVEIRA               ADALISA
                     OMEIKIE                OLUFISAYO
                     PASTOR                 LUIS
                     RAMOS                  CAROLINA
                     SANTOS                 SANDRA
                     SERIF ANIMASHAUN       FOLASADE
                     SOUSA                  TELMA
                     VIEIRA                 CONSTANTINA
                     VIEIRA                 JOSE


                      ABBOTT                VALLEN
                      ABDUSSALAAM           MARGARET
                      ABRAHAM               MARTHE
                      ABRAHAMS              ARLENE
                      ACOLATSE              GEORGE
                      ADAMS                 JERMEY
                      ADAMS                 SHIRLEY
                      ADAMS-BROWNE          MAWUSI
                      ADEYEMI               FOLASHADE
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                     ADEYEMI                ONOME
                     AGYEMANG               BENEDICTA
                     AGYEMANG               MIRIAM
                     AIRD-CAMPBELL          DENISE
                     AJAH                   OGAMA
                     AJAYI                  CLARA
                     AJUNWA                 PHILIP
                     ALEHAGWOH              TERENCE
                     ALEXANDER              WENDY
                     ALEXANDRA              RICHARD
                     ALIP                   ESPERANZA
                     ALUMNO                 JACQUELINE
                     AMANKWAH               GEORGE
                     AMES                   JODIE
                     ANEKE                  AMAKA
                     ARANA                  LUZ ELENA
                     ARTHUR NORVILLE        GLORIA
                     ARZOLA                 YVETTE
                     ASAMOAH                ELIZABETH
                     ATTOBRAH               WALLACE
                     AURELUS                CHESNA
                     AUSTIN                 ORIN
                     AYADI                  BABATUNDE
                     AYADI                  MONIOLA
                     AYIMAH                 JANET
                     AZUMAH                 ALHASSAN
                     BAAH-FORDJOUR          CHARLOTTE
                     BACON                  ERIN
                     BANFUL                 GLORIA
                     BAPTISTE               LORNA
                     BAPTISTE               MATTIE
                     BARNES                 CHRISTINE
                     BEKOE                  BEATRICE
                     BENNETT                SULIE
                     BITARIHO               JUSTINE
                     BLACK                  SANDRA
                     BLAKE                  KARLA
                     BLAKE                  NICOLETTE
                     BOBO                   IDENA
                     BOLARINWA              OLAYINKA
                     BOSWELL-CHIN           SAMANTHA
                     BOUTON                 HEIDI
                     BOYEA                  PATRICIA
                     BRADSHAW               MERCY
                     BREW                   REBECCA
                     BRIGGS                 TARSHEA
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                     BRISTOL                SHEFFON
                     BROWN                  CARLA
                     BROWN                  JENNIFER
                     BRUCE                  SHARON
                     BUSARI                 MARYAM
                     CALLENDER              CATHERINE
                     CALVIN                 KEVEN
                     CAMERON                YVONNE
                     CAMPBELL               CARLENE
                     CAMPBELL               NOVELETTE
                     CAMPBELL               ROSEMARIE
                     CARDAMONE              NATASHA
                     CARR                   ANTHONY
                     CARTER                 NICOLE
                     CHIDOBE                JULIET
                     CHONG                  DESREEN
                     CLARK                  ELIZABETH
                     CLARKE                 MARVELL
                     CLARKE                 NICKISHA
                     CLEMENSON              ELAINE
                     COOPER                 NOEL
                     CORTES                 ROSARIO
                     CREEK                  CRYSTAL
                     CROSDALE               VIVINE
                     CRUEL                  ANA
                     CRUZ                   SHANNON
                     CURTIS                 JACQUELINE
                     DALE                   ANDREA
                     DALEY                  ADRIANNA
                     DALRYMPLE              HENRY
                     DANKU                  LUCY
                     DANQUAH ASARE          OPHELIA
                     DAVIS                  SHEREE
                     DEKYEM                 WINIFRED
                     DENNIS                 VALARIE
                     DESSAINT               CHRISTINE
                     DILLON                 JANE
                     DIOP                   MAGUETTE
                     DONALDSON              NICOLETTE
                     DUKE                   LAVERETTA
                     DUNN                   PAULA
                     DURANT                 MICHAEL
                     EDMONSON-SMITH         MELVA
                     EDWARDS                LISA
                     EDWARDS                MICHELLE
                     EFFIOM                 JOHN
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                     EKEZIE                 CELESTINA
                     ELLIS                  MADDISON
                     ELLIS-REID             RHIA
                     ERBYN                  KATE
                     EREGIE                 ROSEMARY
                     ESSILFIE               GLADYS
                     ESTEVEZ                RAMON
                     EXANTUS                MEDINA
                     EZE                    ANNE
                     FACEY                  FELICA
                     FACEY                  MAUVARIE
                     FACEY                  MICHELLE
                     FATUKASI               OLUFEMI
                     FERGUSON               KAREN
                     FIDELIS                ROSITA
                     FIELDS                 DORIS
                     FINDLAY                SHANET
                     FITZGERALD             ROBERT
                     FLOMO                  CHRISTOPHER
                     FOFANAH                BINTU
                     FOSTER                 SHANICE
                     FRANCIS                DEBBIE
                     FRANCIS                SHEELA
                     FRANCIS                TELITA
                     FREDERICK              PETRONILLA
                     FREEBORN               COLLEEN
                     FRIMPONG               ALEXANDER
                     FRITH                  MARVLETTE
                     FULLER                 ALBERT
                     GARBER                 RACHEL
                     GARRICK                JENNIFER
                     GERALD                 CAROL
                     GHERZO                 LEE
                     GILZENE                CLAUDIA
                     GILZENE                NORMA
                     GORDON                 LESA
                     GRANT                  ARLENE
                     GREENE                 SANDRA
                     GUILLAUME              MARIE
                     GUMBS                  LENNOX
                     GYAMFI                 HENRIETTA
                     HAIGHT                 CHARLENE
                     HAMILTON               COURTNEY
                     HANSEN                 MPHAMBO
                     HARRELL                TAPHIAN
                     HEDMAN                 NADINE
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                     HENDRICKS              MARVETTE
                     HEWITT                 PATHRINE
                     HILL                   ANGELICA
                     HOLCOMB                MORGAN
                     HOLLAND                LEAH
                     HURLBURT               CORRINE
                     HUTCHINSON             KERRY ANN
                     HYACINTHE              KETTELENE
                     HYLTON                 LISHON
                     IGWE                   GEOFFREY
                     JACKSON                STEVON
                     JACKSON                TERRI
                     JAMES                  BESSIE ADJEI
                     JAMES                  GERALDINE
                     JAMES                  JOLENE
                     JEAN                   CAROLE
                     JERRICK                CATHERINE
                     JEUDI                  NATACHA
                     JOHN                   CANDACE
                     JOHNSON                ANESHA
                     JOHNSON                NOLA
                     JOHNSON                OLUWAKEMI
                     JONES                  DONNA
                     JONES                  LURINE
                     JONES                  TIFFANY
                     JOSEPH                 CURLETTA
                     KARIOKI                BENARD
                     KEITA                  TENNEH
                     KERR                   SHERIL
                     KERR-CUNNINGHAM        RHONDA
                     KONNEH                 MAWA
                     KOULIBALY              MARIAMA
                     KULLAH                 PATRICK
                     LAMB                   ERICA
                     LAVIGNE                JAN
                     LAWRENCE               ASHER
                     LAWRENCE               CHARMAINE
                     LAWRENCE               DAISY
                     LEVY-BRYAN             LAVERNE
                     LEWIS                  KAREEN
                     LEWIS                  RICKEYA
                     LIVERMORE              VIVIENNE
                     LLOYD                  DEBORAH
                     LOMAX                  PATRICIA
                     LONGTIN                JOCELYN
                     LOOBY                  ESTHER
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                     LUKEMAN                TANYA
                     LYONS                  CARMEN
                     MANU AWUAH             VIVIAN
                     MATHADOR               SISE
                     MATTHEW                ESTHER
                     MATTISON               SHANTEL
                     MCCOURTIE              MARGARET
                     MCGRAIL                NORA
                     MERCHANT               KYA
                     MEREGILDO              PAULINA
                     MESEC                  JESSICA
                     MESIA                  LILLIBETH
                     MILLER                 JERIMIAH
                     MILLER                 SHELLIE
                     MORGAN                 CHARMAINE
                     MORGAN                 SHERON
                     MORGAN                 TADDISHA
                     MORRIS                 ELVIE
                     MORRISON               ZENESSA
                     MUIR                   KASTASIA
                     MUKERJI                CHIPLI
                     MURPHY
                     NEWBERRY               TANISHA
                     MURRAY                 ANN
                     MYERS                  COLLEEN
                     NELSON                 FAYONNE
                     NOSA                   SARAH
                     NUTAKOR                NATALIE
                     NWOSU                  EMEKA
                     OBAJE                  ANDREW
                     ODEH                   OSABUOHIEN
                     ODUNAIKE               BUNMI
                     OFILI                  NKECHI
                     OGUNDIRAN              CHARLINE
                     OJO                    CAROLINE
                     OKEKE                  MAUREEN
                     OLUWAYOSE              ATINUKE
                     OPUNI-ADJEI            STELLA
                     ORIOL                  IMMACULA
                     OSBORNE                CAPREECE
                     OSEI                   GEORGE
                     OSKOWITZ               YB-LEM
                     OYETIBO                FOLASHADE
                     PALAGANAS              AVELINA
                     PALMER                 CHARMAINE
                     PALMER                 PATRICIA
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                     PARK                   BRYANNA
                     PARK                   DENISE
                     PATTERSON              ELAINE
                     PAVILUS                CARMELLE
                     PEART                  COLIN
                     PERILLO                EVELYN
                     PERSAD                 MALA
                     PICKARD                SAMANTHA
                     PIERRE                 MARCUS
                     PLUNKETT               WILNETH
                     POLANCO                SANICAY
                     PORTER                 DOREEN
                     POSKROBKO              JOLANTA
                     PRESCOTT               GLEN
                     QUARSHIE               PEARL
                     QUILES-HADDOCK         ELIZABETH
                     RAMLAKHAN              SIDERA
                     RAMLOCHAN              SHABANA
                     RAMOUTAR               DINNANAUTH
                     RAMSAY-DIXON           EUGENIE
                     RAMSUDH                DEVAKIE
                     REECE-NEWLAND          CARLA
                     REGISTER               UTE
                     REID                   PATRICK
                     REID FOSTER            ARLENE
                     RHODES                 TYSEAN
                     RICHARDS               ANIQUE
                     RIEL                   BRIANNA
                     RIGHTON                HEATHER
                     ROBARE                 SHIRREECE
                     ROBERTS                NYIKO
                     ROBIE                  ALEXIS
                     ROBINSON               BOSEDE
                     ROBINSON               JOSEPH
                     ROBINSON               TERRY ANN
                     RODRIGUEZ              JUAN
                     ROE                    DARLEAN
                     ROPER                  TINA
                     ROSCOE                 AMY
                     ROSE                   SHIRAKI
                     ROSERO                 JAVIER
                     ROWE                   DOREEN
                     ROYES                  RICARDO
                     RUDDOCK                NECOLA
                     RUPLALL                PARMANAND
                     SAMPANEY               SABRINA
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                     SAMUELS                JOAN
                     SANOE                  MEMUNA
                     SATCHELL               NOVELETTE
                     SCHWORM                KAREN
                     SCIBOR                 BOZENA
                     SCOTT                  TALAINA
                     SEBUUFU                BAKER
                     SEEDEE                 REBECCA
                     SHEPHERD               DENISE
                     SHITTU                 YEWANDE
                     SIMMONS                ANNETTE
                     SIMMONS                NADEAJAH
                     SIMPSON                JULIE
                     SMART                  KESI
                     SMITH                  AUDREY
                     SMITH                  SHANEKA
                     SOLOMON                SEAN
                     SONPON                 JOYCE
                     SPENCER                JOAN
                     ST ROSE                THERESA
                     STAGE                  CAITLIN
                     STAGE                  TAMARA
                     STEPHENS               HYACINTH
                     SYLLA                  MARIETOU
                     TAMAYO                 ISRAEL
                     TENNANT                CHARMAINE
                     TERRELONGE
                     BENNETT                SHACKERA
                     THAXTER                CARLENE
                     THOMAS                 MARSHA
                     THOMAS                 MAVIS
                     THOMAS-PELT            ADRIANNE
                     THOMPSON               DILLIS
                     THURSTON               ESTHER
                     TIDBALL                SEANTAISA
                     TIJANI                 MODUPE
                     TOLLIVER               BRITTANY
                     TULAY                  SARAH
                     UNWE                   VIVIAN
                     VAN CAMP               RICHARD
                     VEIKAI                 DISSOUE
                     VITAL-PHIPPS           CECILIA
                     WALKER                 PHILLIP
                     WALKER                 VERONIQUE
                     WALLACE                DIANA
                     WALLACE                SADE
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                     WALLACH                SARA
                     WALTERS                JULIET
                     WATSON                 DONNA
                     WEBB                   ELLIANA
                     WEBBER                 JENNETH
                     WELCH                  TAMMY
                     WELCH-
                     BRAITHWAITE            SHAMKIA
                     WHEA-BERIER            ALETEE
                     WHEELER                JALIYAH
                     WHYTE                  ANGELA
                     WHYTE                  ENES
                     WILLEY                 JOLYNN
                     WILSON                 BARIMA
                     WOODS                  JEFFREY
                     WRIGHT                 MARIA
                     YNCLINO                CYNTHIA
                     YNCLINO                JAMES
                     YOUNG                  MELISSA
